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            In the United States Court of Federal Claims

                               )
 JOHN NEELY KENNEDY, TREASURER )
 OF THE STATE OF LOUISIANA,    )
                               )
                Plaintiff,     )                                   No. 15-1365C
                               )                                   (Filed: January 17, 2020)
      v.                       )
                               )
 THE UNITED STATES OF AMERICA, )
                               )
                Defendant.     )
                               )


                                          ORDER

       This case was stayed pending decisions by the United States Court of Appeals for

the Federal Circuit in LaTurner v. United States, Case No. 13-1011C, and Lea v. United

States, Case No. 16-43. On August 13, 2019, the Federal Circuit reversed this Court’s

grant of summary judgment to the plaintiffs in LaTurner and Lea, and remanded with

instructions to grant summary judgment in favor of the government. See LaTurner v.

United States, 933 F.3d 1354, 1367 (Fed. Cir. 2019). Accordingly, on December 19,

2019, this Court granted summary judgment for the government in both cases and

subsequently lifted the stays in the related cases. See ECF No. 43, Lea v. United States

(Dec. 19, 2019).


       In a joint status report, the parties in this case as well as other related cases

notified the Court that the plaintiff in LaTurner is currently seeking the required approval

from the Kansas Attorney General to timely seek review of the Federal Circuit’s August
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13, 2019 decision in the Supreme Court. The parties thus anticipate that the issues in

LaTurner will remain live and that the Supreme Court will act on LaTurner’s anticipated

petition during its 2021 term.


       Therefore, the Court orders the proceedings in this case are to be STAYED

pending either a decision by the Supreme Court denying the LaTurner petition for

certiorari or disposing of the case on the merits, or until the decision of the Federal

Circuit becomes final and unappealable. The parties shall file a joint status report within

14 days of the date on which the Supreme Court issues its decision or the Federal Circuit

judgment becomes final.



       IT IS SO ORDERED.



                                                       /s/ Elaine D. Kaplan
                                                      ELAINE D. KAPLAN
                                                      Judge




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